
PER CURIAM.
We affirm the convictions and guideline departure sentence in this case pursuant to Williams v. State, 559 So.2d 680 (Fla. 2d DCA 1990). As in Williams we certify to the Florida Supreme Court the following question of great public importance:
HAS THE SUPREME COURT IN REE v. STATE, 565 So.2d 1329 (FLA.1990), AND LAMBERT v. STATE, 545 So.2d 838 (FLA.1989), RECEDED FROM THE HOLDING IN ADAMS v. STATE, 490 So.2d 53 (FLA.1986), IN WHICH IT FOUND THAT WHERE A DEFENDANT, PREVIOUSLY PLACED ON PROBATION, HAS REPEATEDLY VIOLATED THE TERMS OF HIS PROBATION AFTER HAVING HAD HIS PROBATION RESTORED, THAT A TRIAL *656COURT MAY USE THE MULTIPLE VIOLATIONS OF PROBATION AS A VALID REASON TO SUPPORT A DEPARTURE SENTENCE BEYOND THE ONE-CELL BUMP FOR VIOLATION OF PROBATION UNDER RULE 3.701(d)(14), FLORIDA RULES OF CRIMINAL PROCEDURE?
SCHEB, A.C.J., and RYDER and PATTERSON, JJ., concur.
